                      UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE: Eric M. Sheffer,                        Bankruptcy No. 1:21-bk-01940-HWV
                      Debtor                    Chapter 13

                                          ORDER



         AND NOW, it is hereby ORDERED and DECREED that the Motion for Continuance is
 GRANTED and the matter has been re-scheduled for the _______ day of _______________.
 2023.




                                          BY THE COURT:


                                          ___________________________
                                          Henry W. Van Eck
                                          United States Bankruptcy Judge




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